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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


THE MCDONNEL GROUP, LLC                             CASE NO. 2:18-cv-01380-GGG-JVM
                                                    c/w 19-2227; 19-2230; 19-10462
VERSUS
                                                    SECTION: T
STARR SURPLUS LINES INSURANCE
COMPANY                                             DIVISION: 1

                                                    JUDGE: GREG GUIDRY

                                                    MAGISTRATE JUDGE: JANIS VAN
                                                    MEERVELD
                                                    (Applies to: ALL CASES)

                        JOINT MOTION TO RESET TRIAL DATE
                         AND OTHER PRETRIAL DEADLINES

       COME NOW, Plaintiffs, The McDonnel Group, LLC (“McDonnel”), The Jung, L.L.C.

(“Jung”), Mechanical Construction Company, L.L.C. n/k/a Bernhard MCC, LLC (“BMCC”), All

Star Electric, Inc. (“ASE”), and Defendants, Starr Surplus Lines Insurance Company and

Lexington Insurance Company (collectively “Defendants”), who respectfully submit this Joint

Motion to Reset Trial Date and Other Pretrial Deadlines and submit as follows:

       1. On August 30, 2019, this Court entered an Order resetting the trial date for January 27,

           2020 and a pretrial conference on January 9, 2020. See Record Doc. No. 279.

       2. Jung and the Defendants moved this Court to continue these settings due to their

           counsel having other matters set for trial in other jurisdictions. See Record Doc. No.

           280.

       3. On September 9, 2019, this Court denied the motion to continue filed by Jung and the

           Defendants but directed the parties to confer and select a new trial date on either

           February 3 or 10, 2020 or March 30, 2020, or, failing an agreement by the parties, the


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    January 27, 2020 trial date would remain in place. See Record Doc. No. 284. The

    Court further directed the parties to file a joint motion to reset the trial date and all

    relevant pretrial deadlines no later than September 20, 2019.

 4. Thereafter, on September 12, 2019, the Court’s staff advised that the following dates

    were also available for trial: March 2, 9, 16, or 23, 2020.

 5. Counsel for McDonnel, Defendants, Jung, BMCC, and All Star have all conferred and

    agreed that they are available for a jury trial in this matter on March 9, 2020.

 6. Therefore, in accordance with this Court’s September 9, 2019 Order, the parties

    respectfully request that this Court enter an order continuing the January 27, 2020 jury

    trial and resetting said jury trial for March 9, 2020.

 7. The parties further request that the Court also set the following agreed-upon pretrial

    deadlines:

     Written reports of experts, as defined        November 1, 2019
     by Federal Rules of Civil Procedure
     26(a)(2)(B), who may be witnesses for
     Plaintiffs
     Written reports of experts, as defined        December 3, 2019
     by Federal Rules of Civil Procedure
     26(a)(2)(B), who may be witnesses for
     Defendants
     A list of all witnesses who may or will       December 6, 2019
     be called to testify at trial and a list of
     all exhibits which may or will be used
     at trial
     Depositions for trial use shall be taken      December 31, 2019
     and all discovery completed
     Filing of non-evidentiary pretrial            February 4, 2020 (for submission to
     motions, including motions in limine          the Court on February 19, 2020)
     regarding the qualifications of expert
     witnesses
     Filing of all other motions in limine         February 18, 2020 (for submission to
                                                   the Court on March 4, 2020)



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       8. Counsel for all parties have confirmed no objection to the March 9, 2020 trial date or

           the deadlines set forth in this motion. In addition, counsel for McDonnel has also

           requested a deadline to provide a rebuttal expert report. Counsel are continuing to

           confer regarding this request, but the parties agree that the deadlines set forth herein

           should be set at this time, reserving all rights to McDonnel to seek leave of Court for a

           deadline to produce a rebuttal expert report.

       9. Pursuant to the Court’s September 9, 2019 Order, the parties further request that the

           Court set a pretrial conference on February 19, 2020 at 2:30 p.m. Counsel will be

           prepared in accordance with the final Pretrial Notice attached hereto as Exhibit

           1. Notwithstanding the attached Pretrial Notice, pretrial orders are to be filed

           electronically by 4:30 p.m. on a day that allows one full work day prior to the

           conference, excluding Saturdays, Sundays and holidays (i.e., if the conference is

           set for 10:00 a.m. Friday, it must be filed electronically by 4:30 p.m.

           Wednesday. If the conference is set on Monday, the pre-trial order must be filed

           electronically on Thursday by 4:30 p.m.).                THE PRETRIAL ORDER

           SUBMITTED TO THE COURT MUST BE DOUBLE SPACED AND SIGNED

           BY ALL COUNSEL.

       10. The parties also agree that they will contact United States Magistrate Judge van

           Meerveld to schedule a settlement conference no less than 30 days before trial.

       For the foregoing reasons, McDonnel, Jung, BMCC, and All Star respectfully request that

this Court grant this Motion to Reset Trial and Other Pretrial Deadlines and enter an Order resetting

the trial for March 9, 2020 and establish other pretrial deadlines as set forth herein and in the

attached Pretrial Notice.


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                              RESPECTFULLY SUBMITTED:



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                                           SURPLUS LINES INSURANCE
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                                           INSURANCE COMPANY

                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the above and foregoing has been served upon all
counsel of record by depositing same in the U.S. mail, properly addressed and postage prepaid,
and/or by electronic mail, this 20th day of September, 2019.


                                                         /s/ James M. Garner____________
                                                         JAMES M. GARNER




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